                              Case 19-11179-BLS                     Doc 1        Filed 05/28/19            Page 1 of 17
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                  Delaware
 ____________________ District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/1

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          White Star Petroleum Holdings, LLC
                                           ______________________________________________________________________________________________________



                                            American Energy Woodford Holdings, LLC
2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              4 2          4 5 7 0 5 7 5
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            301        NW 63rd St.
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                            Suite 600
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Oklahoma City              OK       73116
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Oklahoma
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 https://www.wstr.com/
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor
                 White Star Petroleum Holdings, LLC
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                1 ___
                                            2 ___
                                            ___       1
                                                  1 ___
8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,, (amount subject to adjustment on
                                                             4/01/ and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          See attached Annex 1
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


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Debtor                    White Star Petroleum Holdings, LLC
                         _______________________________________________________                                              Case number (if known)_____________________________________
                         Name




11.   Why is the case filed in this                                  Check all that apply:
      district?
                                                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                                           district.

                                                                      A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have                                     No
      possession of any real                                          Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                                                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                                      What is the hazard? _____________________________________________________________________

                                                                                     It needs to be physically secured or protected from the weather.

                                                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                                                      assets or other options).

                                                                                     Other _______________________________________________________________________________



                                                                                  Where is the property?_____________________________________________________________________
                                                                                                            Number          Street

                                                                                                            ____________________________________________________________________

                                                                                                            _______________________________________         _______     ________________
                                                                                                            City                                            State       ZIP Code


                                                                                  Is the property insured?
                                                                                     No
                                                                                     Yes. Insurance agency ____________________________________________________________________

                                                                                           Contact name     ____________________________________________________________________

                                                                                           Phone            ________________________________




                     Statistical and administrative information



13.   Debtor’s estimation of                                         Check one:
      available funds                                                 Funds will be available for distribution to unsecured creditors.
                                                                      After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                                                      1-49                                1,000-5,000                              25,001-50,000
14.   Estimated number of                                             50-99                               5,001-10,000                             50,001-100,000
      creditors
                                                                      100-199                             10,001-25,000                            More than 100,000
                                                                      200-999

                                                                     $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                                                $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                                                      $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                                                      $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion
      
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  Official Form 201                                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
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Debtor               White Star Petroleum Holdings, LLC
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    Name



                                                                $0-$50,000                           $1,000,001-$10 million                    $500,000,001-$1 billion
16.   Estimated liabilities                                      $50,001-$100,000                     $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                                                 $100,001-$500,000                    $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                                                 $500,001-$1 million                  $100,000,001-$500 million                 More than $50 billion
          
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                 Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of                                    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                                       petition.
      debtor
                                                                      I have been authorized to file this petition on behalf of the debtor.

                                                                      I have examined the information in this petition and have a reasonable belief that the information is true and
                                                                       correct.


                                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                                                   05 28 2019
                                                                      Executed on _________________
                                                                                  MM / DD / YYYY


                                                                8 /s/ Elliot Chambers
                                                                       _____________________________________________              Elliot Chambers
                                                                                                                                 _______________________________________________
                                                                      Signature of authorized representative of debtor           Printed name

                                                                             Chief Executive Officer
                                                                      Title _________________________________________




18.   Signature of attorney
                                                                8 /s/ Derek C. Abbott
                                                                       _____________________________________________             Date           05   28 2019
                                                                                                                                               _________________
                                                                       Signature of attorney for debtor                                        MM   / DD / YYYY



                                                                       Derek C. Abbott
                                                                      _________________________________________________________________________________________________
                                                                      Printed name
                                                                       Morris, Nichols, Arsht & Tunnell LLP
                                                                      _________________________________________________________________________________________________
                                                                      Firm name
                                                                      1201        North Market Street, P.O. Box 1347
                                                                      _________________________________________________________________________________________________
                                                                      Number      Street
                                                                       Wilmington
                                                                      ____________________________________________________            DE
                                                                                                                                     ____________  19899
                                                                                                                                                  ______________________________
                                                                      City                                                           State        ZIP Code

                                                                       (302) 351-9357
                                                                      ____________________________________                            dabbott@mnat.com
                                                                                                                                     __________________________________________
                                                                      Contact phone                                                  Email address



                                                                       3376
                                                                      ______________________________________________________  DE
                                                                                                                             ____________
                                                                      Bar number                                             State




  Official Form 201                                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
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                                                 ANNEX 1

            Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

                 On the date hereof, each of the entities listed below (together with White Star
Petroleum Holdings, LLC, the “Debtors”) filed a petition in this Court for relief under chapter 11
of title 11 of the United States Code. The Debtors have moved for joint administration of these
cases under the case number assigned to the chapter 11 case of White Star Petroleum Holdings,
LLC.

    1.   White Star Petroleum, LLC1
    2.   White Star Petroleum II, LLC
    3.   White Star Petroleum Operating, LLC
    4.   WSP Finance Corporation




1
    On May 24, 2019, purported trade creditors filed an involuntary bankruptcy petition against White Star
    Petroleum, LLC in the United States Bankruptcy Court for the Western District of Oklahoma, Case No. 19-
    12145.



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               IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE
____________________________________________ x
                                             :                              Chapter 11
In re                                        :
                                             :                              Case No. (19-_____) (__)
WHITE STAR PETROLEUM HOLDINGS, LLC,          :
et al.,1                                     :                               Joint Administration Pending
                                             :
                            Debtors.         :
____________________________________________ x

                           CORPORATE OWNERSHIP STATEMENT
                          AND LIST OF EQUITY SECURITY HOLDERS

                 Pursuant to rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of

Bankruptcy Procedure, WSTR Holdings, on behalf of the Debtors, respectfully represents:

         1.      100% of the equity of WSP Finance is directly owned by WSTR.

         2.      100% of the equity of WSTR Operating is directly owned by WSTR.

         3.      100% of the equity of WSTR II is directly owned by WSTR.

         4.      100% of the equity of WSTR is directly owned by WSTR Holdings.

         5.      72.3% of the equity of WSTR Holdings is directly owned by EMG White Star

Holdings, LLC, 811 Main Street, Suite 4200, Houston, Texas 77002.




1
    The Debtors in these chapter 11 cases, and the last four digits of their U.S. taxpayer identification numbers are:
    White Star Petroleum Holdings, LLC (0575) (“WSTR Holdings”), White Star Petroleum, LLC (0977)
    (“WSTR”), White Star Petroleum II, LLC (4347) (“WSTR II”), White Star Petroleum Operating, LLC (5387)
    (“WSTR Operating”) and WSP Finance Corporation (9152) (“WSP Finance” and together with WSTR
    Holdings, WSTR, WSTR II and WSTR Operating, the “Debtors”). The Debtors’ corporate headquarters is
    located at 301 N.W. 63rd Street, Suite 600, Oklahoma City, OK 73116.



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                                 Case 19-11179-BLS                Doc 1           Filed 05/28/19              Page 10 of 17

 Fill in this information to identify the case and this filing:


              White Star Petroleum Holdings, LLC
 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


                                                       Consolidated Top 30 Largest Unsecured Claims
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    05/28/2019
        Executed on ______________                         8 /s/ Elliot Chambers
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Elliot Chambers
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                                 Case 19-11179-BLS                Doc 1           Filed 05/28/19              Page 11 of 17

 Fill in this information to identify the case and this filing:


              White Star Petroleum Holdings, LLC
 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


                                                       Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    05/28/2019
        Executed on ______________                         8 /s/ Elliot Chambers
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Elliot Chambers
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                Case 19-11179-BLS       Doc 1    Filed 05/28/19     Page 12 of 17



                               SECRETARY’S CERTIFICATE

                                          May 27, 2019

              The undersigned, Jeffery J. Zanotti, as Senior Vice President, General Counsel and
Secretary of White Star Petroleum Holdings, LLC, a Delaware limited liability company (the
“Company”) hereby certifies as follows:

       1.      I am the duly elected and qualified Senior Vice President, General Counsel and
Secretary of the Company, and as such I am familiar with the facts herein certified and I am duly
authorized to certify the same on behalf of the Company.

       2.     Attached hereto is a true, complete and correct excerpt of the resolutions of the
Board of Managers of the Company, duly adopted and approved on May 27, 2019, in accordance
with the bylaws of the Company.

       3.       Such resolutions have not been amended, modified, annulled, revoked or rescinded
and are in full force and effect as of the date hereof. There exist no other subsequent resolutions
of the Board of Managers of the Company relating to the matters set forth in the resolutions
attached hereto.

        IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date set
forth above.



                                                     ____________________________
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                                                     Senior Vice President, General Counsel and
                                                     Secretary




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            Case 19-11179-BLS           Doc 1     Filed 05/28/19        Page 13 of 17



                                    RESOLUTIONS OF
                              THE BOARD OF MANAGERS OF
                          WHITE STAR PETROLEUM HOLDINGS, LLC

         I. Voluntary Petitions and Bankruptcy Case

        WHEREAS, the Board has reviewed and discussed the financial and operational
condition of the Company and the Company’s business on the date hereof, including the current
and historical performance of the Company, the assets and liquidity of the Company, the current
and long-term liabilities of the Company and the credit market conditions;

         WHEREAS, the Board has received, reviewed, and discussed the recommendations of
management of the Company and the Company’s legal, financial, and other advisors as to the
relative risks and benefits of the strategic alternatives available to the Company, including a
bankruptcy proceeding (the “Bankruptcy Case”) under the provisions of Chapter 11 of Title 11 of
the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and has discussed
forms or descriptions of the key “first day” and “second day” filings that would be proposed to be
made by the Company in connection with the Bankruptcy Case (the “Initial Filings”);

        WHEREAS, after review and discussion and due consideration of all of the information
presented to the Board, the Board deems it advisable and in the best interests of the Company,
its members, its creditors, its subsidiaries, stakeholders, and other interested parties, for the
Company to commence the Bankruptcy Case by filing a voluntary petition for relief under the
provisions of the Bankruptcy Code (the “Petition”);

       WHEREAS, the Board deems it advisable and in the best interests of the Company, its
members, its creditors, its subsidiaries, stakeholders, and other interested parties for the
Company to make the Initial Filings and to conduct the business of the Company as
contemplated thereby;

         NOW, THEREFORE, BE IT:

        RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
the Company, its members, its creditors, its subsidiaries, stakeholders, and other interested
parties that the Petition and the Initial Filings be filed by the Company in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”); and be it further

        RESOLVED, that the Company shall be, and it hereby is, authorized, directed and
empowered (i) to file the Petition and the Initial Filings and (ii) to perform any and all such acts as
are reasonable, advisable, expedient, convenient, proper or necessary to effect the foregoing;
and be it further

          RESOLVED, that any Manager or officer of the Company (each, a “Designated Person”
and collectively, the “Designated Persons”) be, and each of them, acting alone, hereby is,
authorized, directed and empowered, on behalf of and in the name of the Company to execute
and verify the Petition and the Initial Filings as well as all other ancillary documents and to cause
the Petition and the Initial Filings to be filed with the Bankruptcy Court, and to make or cause to
be made prior to the execution thereof any modifications to the Petition, the Initial Filings, or any
ancillary documents, and to execute, verify and file or cause to be filed all petitions, schedules,
lists, motions, applications and other papers or documents, agreements, deeds, letters,
instruments or certificates necessary or desirable in connection with any of the foregoing; and be
it further

        RESOLVED, that the law firm of Sullivan & Cromwell LLP (“S&C”) be, and hereby is,
authorized, empowered and directed to represent the Company as its general bankruptcy counsel



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in connection with the Bankruptcy Case, to represent and assist the Company in carrying out its
duties under the Bankruptcy Code and to take any and all actions to advance the Company’s
rights, including the preparation of pleadings and filings in the Bankruptcy Case; and in
connection therewith, the Designated Persons be and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate
application for authority to retain the services of S&C; and be it further

         RESOLVED, that the law firm of Morris, Nichols, Arsht & Tunnell LLP (“Morris Nichols”)
be, and hereby is, authorized, empowered and directed to represent the Company as bankruptcy
co-counsel in connection with the Bankruptcy Case, to represent and assist the Company in
carrying out its duties under the Bankruptcy Code and to take any and all actions to advance the
Company’s rights, including the preparation of pleadings and filings in the Bankruptcy Case; and
in connection therewith, the Designated Persons be and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate
application for authority to retain the services of Morris Nichols; and be it further

         RESOLVED, that the Designated Persons be and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to select a law firm to serve as Oklahoma counsel (“OK Counsel”), and OK Counsel
be, and hereby is, authorized, empowered and directed to represent the Company as bankruptcy
co-counsel in connection with the Bankruptcy Case, to represent and assist the Company in
carrying out its duties under the Bankruptcy Code and to take any and all actions to advance the
Company’s rights, including the preparation of pleadings and filings in the Bankruptcy Case; and
in connection therewith, the Designated Persons be and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate
application for authority to retain the services of OK Counsel; and be it further

        RESOLVED, that the investment bank of Guggenheim Securities, LLC (“Guggenheim”)
be, and hereby is, engaged to provide investment banking and other related services to the
Company in the Bankruptcy Case; and in connection therewith, the Designated Persons be and
each of them, acting alone or in any combination, hereby is, authorized, directed and empowered,
on behalf of and in the name of the Company to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Bankruptcy Case, and to
cause to be filed an appropriate application for authority to retain the services of Guggenheim;
and be it further

        RESOLVED, that the firm of Alvarez & Marsal North America, LLC (“A&M”) be, and
hereby is, engaged to provide restructuring advice and other related services to the Company in
the Bankruptcy Case; and in connection therewith, the Designated Persons be and each of them,
acting alone or in any combination, hereby is, authorized, directed and empowered, on behalf of
and in the name of the Company, to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Bankruptcy Case, and to cause to be filed
an appropriate application for authority to retain the services of A&M; and be it further

        RESOLVED, that the firm of Kurtzman Carson Consultants LLC (“KCC”) be, and hereby
is, engaged to act as notice, claims and balloting agent and to provide other related services to
the Company in the Bankruptcy Case; and in connection therewith, the Designated Persons be
and each of them, acting alone or in any combination, hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company, to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the Bankruptcy


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Case, and to cause to be filed an appropriate application for authority to retain the services of
KCC; and be it further

        RESOLVED, that in addition to the existing signatories of the Company, any Designated
Person, acting alone or in any combination, be, and hereby is, authorized to cause the Company
to employ other special counsel, financial advisors, investment bankers, accountants,
restructuring advisors, notice, balloting and claims agents and other professionals as appropriate
in connection with the Bankruptcy Case and all related matters.

         II. DIP Financing

        WHEREAS, the Board, in contemplation of the Bankruptcy Case, is considering entering
into a Debtor-In-Possession Credit Agreement (the “Credit Agreement”), by and among the
White Star Petroleum, LLC, as borrower, the Company and White Star Petroleum II, LLC, White
Star Petroleum Operating, LLC and WSP Finance Corporation (collectively, the “Subsidiaries”),
as guarantors, MUFG Union Bank, N.A. as collateral and administrative agent (in such capacities,
the “Collateral Agent” and the “Administrative Agent,” respectively, and collectively, the
“Agents”) and the lenders party thereto from time to time (collectively, the “Lenders”);

        WHEREAS, pursuant to the Credit Agreement, the lenders party thereto would extend
$28.5 million in aggregate principal amount of delayed draw term loans (the “Loans”), the
proceeds of which would be used to pay fees and expenses in connection with the Bankruptcy
Case and the other transactions contemplated by the Credit Agreement and the documents
related thereto and to fund working capital and provide for general corporate purposes of the
Company and the Subsidiaries;

         WHEREAS, the Loans would be secured by a security interest in substantially all of the
assets of the Company and the Subsidiaries, and it is a requirement under the Credit Agreement
that the Company and the Subsidiaries pledge substantially all of its assets;

       WHEREAS, the Board determined that the Company and the Subsidiaries will derive
substantial direct and indirect benefits from the extension of credit under the Credit Agreement;

         WHEREAS, in the judgment of the Board, it is desirable and in the best interests of the
Company, its members, its creditors, its subsidiaries, stakeholders, and other interested parties
that the Company and the Subsidiaries (a) enter into the Credit Agreement and exercise all rights
and perform all obligations provided for thereunder and (b) enter into any and all documents,
agreements (including security agreements), notes, instruments, certificates and notices in
connection with the Credit Agreement as are advisable or required in accordance with the Credit
Agreement (collectively with the Credit Agreement, the “Loan Documents”) and exercise the
rights and perform the obligations as shall be set forth therein;

         NOW, THEREFORE, BE IT:

         RESOLVED, that it is desirable and in the best interests of the Company, its members,
its creditors, its subsidiaries, stakeholders, and other interested parties, and necessary to carry
out the business and affairs of the Company and the Subsidiaries, for the Company and the
Subsidiaries to enter into the Credit Agreement, perform all obligations under the Credit
Agreement and grant a security interest in substantially all of its assets to secure its obligations
under the Credit Agreement; and be it further

        RESOLVED, that the incurrence of indebtedness to be evidenced by the Credit
Agreement and the other Loan Documents be, and hereby is, authorized and approved in all
respects and that the officers of the Company and the Subsidiaries are hereby authorized and




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directed to use the proceeds from the Loans in the manner contemplated by and described in the
Credit Agreement and as they may otherwise determine to be appropriate; and be it further

         RESOLVED, that, as collateral security for its obligations arising under, out of or in
connection with the Credit Agreement and the other Loan Documents, the Company and the
Subsidiaries be, and hereby are, authorized to (i) grant to the Collateral Agent for the ratable
benefit of the Agents and the Lenders a security interest in the Collateral (as defined in the Credit
Agreement), whether now owned or existing or hereafter acquired pursuant to the terms and
conditions set forth in the Credit Agreement and the other Loan Documents, and (ii) execute and
deliver to the Collateral Agent any UCC financing statements, instruments and other documents
required or desirable in relation to the transactions contemplated by the Credit Agreement and
any other related document; and be it further

         RESOLVED, that the Credit Agreement and the other Loan Documents to be executed
and delivered by the Company are in all respects hereby approved, and the Designated Persons
be and each of them, acting alone or in any combination, hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company, to execute, deliver and perform the
Loan Documents to which the Company is a party containing such terms as approved by the
Designated Person executing the same, with such approvals to be conclusively evidenced by the
execution thereof by the Designated Person, and to perform all of the agreements and obligations
of the Company under the Loan Documents and to consummate the transactions contemplated
thereby, and that such Designated Persons together with the Director – Treasury of the Company
be, and each of them individually hereby is, authorized to execute, deliver and perform such other
agreements, documents, instruments, notes, certificates and notices, and to take such other
actions as the Designated Person and the Director – Treasury of the Company executing the
same shall deem necessary or appropriate in connection with the Credit Agreement; including the
establishment of bank accounts, the granting of additional liens on real property or otherwise and
the granting and perfection of pledges of equity interests in its subsidiaries in connection with the
security interests granted therein; and be it further

         RESOLVED, that the Company is hereby authorized to fully and unconditionally
guarantee, on a senior secured basis, jointly and severally with the Subsidiaries, to the Lenders
and to the Agents or any agent thereof, the full and prompt performance of each other Loan Party
(as defined in the Credit Agreement)’s obligations under the Credit Agreement and any related
documents, including, without limitation, payments of principal and interest, and the Designated
Persons be and each of them, acting alone or in any combination, hereby is, authorized, directed
and empowered, on behalf of and in the name of the Company, to execute and deliver to the
Agents such guarantees, continuing guarantees and endorsements, all in the form and substance
satisfactory to the Agents, as any such Agent may request, together with such other contracts or
instruments as the Designated Person of the Company deem necessary or advisable to
accomplish the purposes of this resolution or to continue the rights and remedies to be given to
such Collateral Agent and the Lenders.

         III. Compensation Actions

        WHEREAS, White Star Petroleum Operating, LLC (“Operating”) sponsors the White Star
Petroleum Operating, LLC Severance Benefit Plan for Employees and the White Star Petroleum
Operating, LLC Severance Benefit Plan for Officers (together, the “Severance Plans”);

       WHEREAS, the Severance Plans are intended to constitute a comprehensive severance
program covering all of the Company’s employees;

         WHEREAS, the Severance Plans may be amended at any time by Operating;




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        WHEREAS, each of the Company and Operating desires to combine the Severance
Plans into one plan document;

         NOW, THEREFORE, BE IT:

       RESOLVED, that it is desirable and in the best interests of the Company to combine the
Severance Plans into one plan; and be it further

        RESOLVED, that the Severance Plans be, and they hereby are, amended and restated
as the White Star Petroleum Operating, LLC Employee Severance Benefit Plan (the “A&R Plan”)
and that the officers of the Company and the Subsidiaries are hereby authorized and directed to
execute any documents, and take such other actions as they deem necessary or appropriate in
connection with the A&R Plan.

         IV. General Authorizations

         RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Designated Persons, and in addition to the existing signatories of the Company, any of the
Designated Persons, acting alone or in any combination, be, and hereby is, authorized, directed
and empowered, in the name and on behalf of the Company, to do or cause to be done all such
further acts and things, including the payment of all fees, expenses, appropriate retainers and
other amounts payable by the Company with respect to the foregoing, and to execute, file (or
cause to be filed) and deliver all such other instruments, certificates, agreements and documents
as he or she may consider necessary or appropriate to enable the Company to carry out the
intent and to accomplish the purposes of the foregoing resolutions and perform the obligations of
the Company under the Bankruptcy Code and the Loan Documents; and be it further

         RESOLVED, that the Designated Persons be, and each of them acting alone is, hereby
authorized, directed and empowered from time to time in the name and on behalf of the
Company, to adopt resolutions and otherwise exercise the rights and powers of the Company as
such Designated Person may deem necessary, appropriate or desirable; and that thereupon such
resolutions shall be deemed adopted as and for the resolutions of each such subsidiary of the
Company; and be it further

        RESOLVED, that all actions heretofore taken by any officer or Manager of the Company
in connection with the foregoing resolutions, the Petition and related matters be, and they hereby
are, confirmed, ratified and approved in all respects; and be it further

        RESOLVED, that the Managers hereby waive any notice, procedural or other formalities
requirements which may be required in order to hold a meeting of the Company’s Board of
Managers.




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